 Case 10-30942              Doc 539           Filed 09/23/11 Entered 09/23/11 10:40:48       Desc Main
                                               Document Page 1 of 37
       FILED & JUDGMENT ENTERED
                Steven T. Salata



               Sep 23 2011


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                            _____________________________
                                                                                    George R. Hodges
                                                                              United States Bankruptcy Judge



                           UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


In the Matter of:.                                         )           CASE NO. 10-30942
WILLIAM W. GILLESPIE, JR and                               )
JIMMIE C. GILLESPIE                                        )
                                                           )
DEBTORS                                                    )       A Chapter 11 Reorganization
                                                           )


                                            Order Confirming Amended Plan

       The Plan of Reorganization under Chapter 11 of the Bankruptcy Code filed by the
Debtors on January 3, 2011 and the Amended Plan of Reorganization filed by the Debtors on
March 22, 2011 (hereinafter the “Amended Plan”),or a summary thereof, having been
transmitted to creditors and equity security holders, and a Hearing on the Debtors’ Amended
Disclosure Statement and Confirmation of the Plan of Reorganization having been conducted in
the United States Bankruptcy Court in Charlotte, North Carolina on July 27, 2011,

        The Court being advised as to the acceptance of classes of impaired claims of the
Amended Plan, and having considered the evidence presented at the hearing, the record of the
case, and arguments of counsel for the Debtors, various creditors, and the Bankruptcy
Administrator;

        NOW, THEREFORE, the Court makes the following findings of fact and conclusions of
law:

       1.      The Amended Plan and the proponent comply with all requirements of 11 U.S.C.
§ 1129(a), with the exception of §1129(a)(8) in that several creditors have not accepted their
proposed treatment.
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48           Desc Main
                                  Document Page 2 of 37



       2.      It having been determined after hearing on notice that the applicable requirements
for confirmation set forth in Section 1129(b) of the Bankruptcy Code have been satisfied, in that
the Amended Plan does not discriminate unfairly, and is fair and equitable;

       IT IS ORDERED THAT:

       1.      The Amended Disclosure Statement is APPROVED.

       2.      The Amended Plan of Reorganization is CONFIRMED, subject to the following
modifications:

A.     The treatment for certain Claimants is changed as indicated below:


E.     Class V – American Home Mortgage Servicing, Inc. (“AHM”):

       1)      Classification. Class V has been modified as as follows:


    (d) Upon information and belief on or about October 18, 2004, the Debtors entered into a
Promissory Note with American Home in the original principal amount of $71,200.00
(“Note#4”). Note #4 was secured by a Deed of Trust and Security Agreement, taking an
Assignment of Rents as well as a security interest in among other things, rents, profits and all
proceeds thereof in any form. Note # 4 was transferred to The Bank of New York Mellon
Corporation, as Indenture Trustee for American Home Mortgage Investment Trust 2004-4 by
and through American Home Mortgage Services, Inc. Said Deed of Trust is secured by property
located at 2538 Myers Street, Gastonia, North Carolina. American Home filed proof of claim #
64 in the amount of $77,866.97.

       (e) Upon information and belief on or April 18, 2005, the Debtors entered into a
Promissory Note with American Home in the original principal amount of $54,400.00,
(“Note#5”) Note #5 was secured by a Deed of Trust and Security Agreement, taking an
Assignment of Rents as well as a security interest in among other things, rents, profits and all
proceeds thereof in any form. Note # 5 was transferred to Deutsche Bank National Trust
Company, as Indenture Trustee for American Home Mortgage Investment Trust 2005-2 by and
through American Home Mortgage Servicing, Inc. The Deed of Trust is secured by property
located at 60 Fox Street, Gastonia, North Carolina. American Home filed proof of claim # 63 in
the amount of $77,619.56


    (f) Upon information and belief on or about December 4, 2004, the Debtors entered into a
Promissory Note with American Home Mortgage in the original principal amount of $62,250.00.
(“Note#6”) Note #6 was secured by a Deed of Trust and Security Agreement, taking an
Assignment of Rents as well as a security interest in among other things, rents, profits and all
proceeds thereof in any form. The Deed of Trust is secured by property located at 62 Fox Street,
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                   Document Page 3 of 37



Gastonia, North Carolina. Deutsche Bank National trust filed proof of claim # 68 on behalf of
American Home Mortgage Servicing in the amount of $55,720.91.


        (h) Upon information and belief on or about October 18, 2004, the Debtors entered into a
Note with American Home Mortgage, in the original principal amount of $71,200.00 (“Note #
8”). Note #8 was transferred to The Bank of New York Mellon Corporation, as Indenture Trustee
for American Home Mortgage Investment Trust 2004-4 by and through American Home
Mortgage Services, Inc. Note # 8 was secured by a Deed of Trust/Security Instrument, with a
security interest in property located at 2619 Goble Street, Gastonia, North Carolina. The Debtors
estimate AHM’s claim to be $67,912.72.


       (j) Upon information and belief on or about April 18, 2005, the Debtors entered into a
Promissory Note the original principal amount of $48,000.00 with Deutsche Bank National Trust
Company, as Indenture Trustee for American Home Mortgage Investment Trust 2005-2 by and
through American Home Mortgage Servicing, Inc. secured by the Deed of Trust. (“Note #10”)
Note #10 was secured by a Deed of Trust, with a security interest in property located at 206
Winget Circle, Gastonia, North Carolina. American Home filed proof of claim # 65 in the
amount of $52,616.57.

       (2)     Impairment.     This class will be impaired.

       (3)     Treatment: The Debtors propose the following treatment:

    (d) Note # 4.       This obligation shall be treated as a partially secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which secured the debt;
or (2) (a) all outstanding principal and interest due on the petition date; plus (b) any, interest,
costs and expenses approved by the Court pursuant to Section 506(b); less (c) any post-petition
payments. For feasibility purposes, the Debtors value the property at $55,250.00. The Debtors
propose to amortize Note # 4 over a thirty (30) year period with interest accruing at a rate of five
percent (5%) per annum. AHM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its claim is paid in
full. . The Debtors shall make monthly payments of $296.59 beginning on the first of the month
following confirmation and monthly thereafter until the claim is paid in full. The balance of
AHM’s claim shall be treated as a general unsecured claim in Class XXVI as described below.

    (e) Note # 5.       This obligation shall be treated as a partially secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which secured the debt;
or (2) (a) all outstanding principal and interest due on the petition date; plus (b) any, interest,
costs and expenses approved by the Court pursuant to Section 506(b); less (c) any post-petition
payments. For feasibility purposes, the Debtors value the property at $37,750.00. The Debtors
propose to amortize Note # 5 over a thirty (30) year period with interest accruing at a rate of five
percent (5%) per annum. AHM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its claim is paid in
full. The Debtors shall make monthly payments of $202.65 beginning on the first of the month
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                   Document Page 4 of 37



following confirmation and monthly thereafter until the claim is paid in full. The balance of
AHM’s claim shall be treated as a general unsecured claim in Class XXVI as described below.

     (f) Note # 6.      This obligation shall be treated as a partially secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which secured the debt;
or (2) (a) all outstanding principal and interest due on the petition date; plus (b) any, interest,
costs and expenses approved by the Court pursuant to Section 506(b); less (c) any post-petition
payments. For feasibility purposes, the Debtors value the property at $33,500.00. The Debtors
propose to amortize Note # 6 over a thirty (30) year period with interest accruing at a rate of five
and one-half percent (5.5%) per annum. AHM shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
claim is paid in full. The Debtors shall make monthly payments of $190.21beginning on the first
of the month following confirmation and monthly thereafter until the claim is paid in full. The
balance of AHM’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.


    (h) Note # 8.       This obligation shall be treated as a fully secured obligation of the Debtors
in an amount equal to the lesser of: (1) the value of the property which secured the debt; or (2)
(a) all outstanding principal and interest due on the petition date; plus (b) any, interest, costs and
expenses approved by the Court pursuant to Section 506(b); less (c) any post-petition payments.
For feasibility purposes, the Debtors value the property at $42,000.00. The Debtors propose to
amortize Note # 8 over a thirty (30) year period with interest accruing at a rate of five percent
(5%) per annum. AHM shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its claim is paid in full. The
Debtors shall make monthly payments of $225.47 beginning on the first of the month following
confirmation and monthly thereafter until the claim is paid in full. The balance of AHM’s claim
shall be treated as a general unsecured claim in Class XXVI as described below.

    J) Note # 10.        This obligation shall be treated as a partially secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which secured the debt;
or (2) (a) all outstanding principal and interest due on the petition date; plus (b) any, interest,
costs and expenses approved by the Court pursuant to Section 506(b); less (c) any post-petition
payments. For feasibility purposes, the Debtors value the property at $41,000.00. The Debtors
propose to amortize Note # 10 over a thirty (30) year period with interest accruing at a rate of
five percent (5%) per annum. AHM’s cost and attorney’s fees are approved and AHM shall
retain its lien with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its claim is paid in full. The Debtors shall
make monthly payments of $220.10 beginning on the first of the month following confirmation
and monthly thereafter until the claim is paid in full. The balance of AHM’s claim shall be
treated as a general unsecured claim in Class XXVI as described below.
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                    Document Page 5 of 37



F.      Class VI – BAC:

     1. Classifications:       Class VI shall be modified as follows:

     (a) Upon information and belief on or about November 30, 1999, the Debtors entered into a
Deed of Trust and Security Instrument with America’s Wholesale Lender in the original
principal amount of $67,200.00. (“Note#1”) Note # 1 was transferred to BAC Home Loan
Servicing, LP fka Countrywide Home Loan (“BAC”). Note # 1 was secured by a Deed of Trust,
taking a security interest in rents and profits, or proceeds paid thereof. The Deed of Trust is
secured by property located at 620 Highland Street, Gastonia, North Carolina. BAC filed proof
of claim # 69 in the amount of $40,421.14.

    (b) Upon information and belief on or about November 30,1999, the Debtors entered into a
Deed of Trust and Security Instrument with America’s Wholesale Lender in the original
principal amount of $45,750.00 (“Note#2”) Note # 2 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note was
transferred to BAC. The Deed of Trust is secured by property located at 1112 West Davidson
Street, Gastonia, North Carolina. BAC filed proof of claim # 29 in the amount of $42,576.26.

    (c) Upon information and belief on or about November 30,1999, the Debtors entered into a
Deed of Trust and Security Instrument with RBC Mortgage Company in the original principal
amount of $56,250.00 (“Note#3”) Note # 3 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form. Said Note was transferred to
BAC. The Deed of Trust is secured by property located at 1114 North Davidson Street, Gastonia,
North Carolina. BAC filed proof of claim # 28 in the amount of $41,369.94
    .
      (d) Upon information and belief on or about August 17, 2004, the Debtors entered into a
Deed of Trust and Security Instrument with RBC Mortgage Company in the original principal
amount of $67,200.00. (“Note#4”) Note # 4 was transferred to BAC. Note # 4 was secured by a
Deed of Trust, taking a security interest in rents and profits, or proceeds paid thereof. The Deed
of Trust is secured by property located at 715 Davie Street, Gastonia, North Carolina. BAC filed
proof of claim # 26 in the amount of $70,806.12.


        (2)     Impairment.    This class will be impaired.

        (3)     Treatment.     The Debtors propose the following treatment:

        (a) Note # 1. BAC’s claim shall be treated as partially secured in an amount equal to the
value of the collateral. Wells Fargo shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall pay monthly payments to BAC, with interest at the rate of
five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes
the Debtors estimate this claim to be $35,000.00. Monthly payments shall be in the amount of
$187.89 beginning on the fifteenth day of the first full month following the Effective Date. The
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48               Desc Main
                                  Document Page 6 of 37



balance of BAC’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (b) Note # 2. BAC’s claim shall be treated as partially secured in an amount equal to the
value of the collateral. BAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall pay monthly payments to BAC, with interest at the rate of
five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes
the Debtors estimate this claim to be $37,500.00. Monthly payments shall be in the amount of
$201.31beginning on the fifteenth day of the first full month following the Effective Date. The
balance of BAC’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (c) Note # 3. BAC’s claim shall be treated as partially secured in an amount equal to the
value of the collateral. BAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall pay monthly payments to BAC, with interest at the rate of
five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes
the Debtors estimate this claim to be $34,000.00 Monthly payments shall be in the amount of
$182.52 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of BAC’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (d) Note # 4. BAC’s claim shall be treated as partially secured in an amount equal to the
value of the collateral. BAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall pay monthly payments to BAC, with interest at the rate of
five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes
the Debtors estimate this claim to be $52,500.00. Monthly payments shall be in the amount of
$281.83 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of BAC’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.



J.      Class X – Carolina Trust Bank:

       (1)     Classification. Class X consists of the following four secured claims:

        (a) Upon information and belief on or about November 15, 2006, the Debtors entered
into a Promissory Note and Deed of Trust with Carolina Commerce Bank in the original
principal amount of $67,500.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of
Trust were transferred to Carolina Trust Bank (“CTB”). The Deed of Trust is secured by
property located at 811 N Avon, Gastonia, North Carolina. The Debtors estimate CTB’s claim to
be $59,342.12.
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                   Document Page 7 of 37




        (b) Upon information and belief on or about March 17, 2005, the Debtors entered into a
Promissory Note and Deed of Trust with Carolina Commerce Bank in the original principal
amount of $37,800.00 (“Note#2”) Note # 2 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust
were transferred to CTB. The Deed of Trust is secured by property located at 907 East Harrison,
Gastonia, North Carolina. The Debtors estimate CTB’s claim to be $29,665.73.

        (c) Upon information and belief on or about August 1, 2006, the Debtors entered into a
Promissory Note and Deed of Trust with Carolina Trust Bank in the original principal amount of
$54,000.00 (“Note # 3”) Note # 3 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form. The Deed of Trust is secured by property
located at 417 N. Broad, Gastonia, North Carolina. The Debtors estimate CTB’s claim to be
$42,735.26.

        (d) Upon information and belief on or about March 24, 2008, the Debtors entered into a
Promissory Note and Deed of Trust with Carolina Trust Bank in the original principal amount of
$19,016.08 (“Note # 4”) Note # 4 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form. The Deed of Trust is secured by property
located at 1854 Middle Street, Gastonia, North Carolina. The Debtors estimate CTB’s claim to
be $15,811.93

       (2)     Impairment.    This class will be impaired.

       (3)     Treatment.     The Debtors propose the following treatment:

     (a) Note # 1.       CTB shall be treated as fully secured in an amount equal to the value of
the collateral. CTB shall retain its lien with the priority thereof, as existed on the Petition Date
pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in
full. For feasibility purposes the Debtors value this claim at $59,342.12. The Debtors shall make
monthly payments to CTB, with interest at the rate of five percent (5%) per annum amortized
over a period of twenty-five (25) years with a ten (10) year balloon. Monthly payments shall be
in the amount of $346.91 beginning on the fifteenth day of the first full month following the
Effective Date. The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date.


    (b) Note # 2.        CTB shall be treated as fully secured in an amount equal to the value of
the collateral. CTB shall retain its lien with the priority thereof, as existed on the Petition Date
pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in
full. For feasibility purposes the Debtors value this claim at $29,665.73. The Debtors shall make
monthly payments to CTB, with interest at the rate of five percent (5%) per annum amortized
over a period of twenty-five (25) years with a ten (10) year balloon. Monthly payments shall be
in the amount of $173.42 beginning on the fifteenth day of the first full month following the
Effective Date. The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date.
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                   Document Page 8 of 37




    (c) Note # 3.      CTB shall be treated as fully secured in an amount equal to the value of
the collateral. CTB shall retain its lien with the priority thereof, as existed on the Petition Date
pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in
full. The Debtors shall make monthly payments to CTB, with interest at the rate of five percent
(5%) per annum amortized over a period of twenty-five (25) years with a ten (10) year balloon.
For feasibility purposes the Debtors value this claim at $42,735.26. Monthly payments shall be
in the amount of $249.83 beginning on the fifteenth day of the first full month following the
Effective Date. The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date.


    (d) Note # 4.        CTB shall be treated as fully secured in an amount equal to the value of
the collateral. CTB shall retain its lien with the priority thereof, as existed on the Petition Date
pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in
full. For feasibility purposes the Debtors value this claim at $15,811.93. The Debtors shall make
monthly payments to CTB, with interest at the rate of five percent (5%) per annum amortized
over a period of twenty-five (25) years with a 10 year balloon. Monthly payments shall be in the
amount of $92.43 beginning on the fifteenth day of the first full month following the Effective
Date. The outstanding principal balance shall be due and payable one hundred twenty (120)
months from the Effective Date.

    4 Additionally, the plan shall treat the secured claims’ of this creditor in this class as
follows:

       (a)     The debtors shall keep the property, and all improvements situate thereon, insured
       as required by CTB with CTB as a loss payee, and shall abide by all other terms of the
       notes, the deeds of trust, and all other loan documents.

       (b)     Upon confirmation and the debtors commence making payments under CTB's
       loan documents as modified by this order, upon a subsequent default under the loan
       documents, the debtors shall have 15 days to cure the default after written notice to the
       debtors and their counsel, and if the debtors fail to cure the default within that time, the
       stay shall be deemed modified and CTB may thereupon without further action proceed
       foreclose or otherwise enforce its rights under the loan documents.

       (c)     CTB shall allow payments to be made by automatic draft on an account owned by
       debtors provided a suitable account exists or is created by debtors and necessary
       information for such account is provided by debtors. If adequate funds are not present in
       such account in order to make a payment when due, the payment shall be deemed in
       default.
 Case 10-30942      Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48          Desc Main
                                 Document Page 9 of 37



K.     Class XI – CHASE:

       (1)    Classification. Class XI shall be modified as follows:

        (a) Upon information and belief on or about November 12, 2004, the Debtors entered
into a Promissory Note with Long Beach Mortgage Corporation in the original principal amount
of $65,700.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking an assignment of
rents. Said Note and Deed of Trust were transferred to JP Morgan Chase Bank, National
Association (“Chase”). The Deed of Trust is secured by property located 817 North Avon Street,
Gastonia, North Carolina. Chase filed proof of claim # 51 in the amount of $72,850.37.

        (b) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note#2”) Note # 2 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 716 Davie Street, Gastonia, North Carolina. Chase filed proof
of claim # 43 in the amount of $44,145.25.

        (c) Upon information and belief on or about June 16, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note#3”) Note # 3 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 720 Davie Street, Gastonia, North Carolina. Chase filed proof
of claim # 52 in the amount of $49,069.42.

       (d) Upon information and belief on or about March 9, 2004, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $45,750.00 (“Note#4”) Note # 4 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 2137 Hartford Drive, Gastonia, North Carolina. Chase filed
proof of claim # 54 in the amount of $50,111.99.

       (e) Upon information and belief on or about February 4, 2004, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of45,750.00 (“Note # 5”) Note # 5 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 2149 Hartford Drive, Gastonia, North Carolina. Chase filed
proof of claim # 45 in the amount of $49,434.11.

        (f) Upon information and belief on or about November 8, 2004, the Debtors entered into
a Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $106,4000.00 (“Note # 6”) Note # 6 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 210 Hill Street Unit A, Gastonia, North Carolina. Chase
filed proof of claim # 48 in the amount of $115,721.25.
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48          Desc Main
                                 Document Page 10 of 37



        (g) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $42,500.00 (“Note # 7”) Note # 7 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 2319 Knight Drive, Gastonia, North Carolina. Chase filed proof
of claim # 46 in the amount of $45,007.40.

        (h) Upon information and belief on or about June 18, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note # 8”) Note # 8 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 1817 Middle Street, Gastonia, North Carolina. Chase filed proof
of claim # 60 in the amount of $46,294.54.

        (i) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note # 9”) Note # 9 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of Trust
is secured by property located at 1823 Middle Street, Gastonia, North Carolina. Chase filed proof
of claim # 56 in the amount of $47,322.56.

        (j) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note # 10”) Note # 10 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 1827 Middle Street, Gastonia, North Carolina. Chase filed
proof of claim # 42 in the amount of $46,451.30.

        (k) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note # 11”) Note # 12 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 1831 Middle Street, Gastonia, North Carolina. Chase filed
proof of claim # 55 in the amount of $46,200.28.

        (l) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note # 12”) Note # 13 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 1837 Middle Street, Gastonia, North Carolina. Chase filed
proof of claim # 50 in the amount of $45,624.04.

       (m) Upon information and belief on or about June 16, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $44,000.00 (“Note # 13”) Note # 13 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 11 of 37



Trust is secured by property located at 1843 Middle Street, Gastonia, North Carolina. Chase filed
proof of claim # 47 in the amount of $47,357.86.

        (n) Upon information and belief on or about February 10, 2004, the Debtors entered into
a Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $50,250.00 (“Note # 14”) Note # 14 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 3001 Matthews Drive aka 625 New Castle, Gastonia,
North Carolina. Chase filed proof of claim # 55 in the amount of $55,326.97.

        (o) Upon information and belief on or about June 17, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $50,400.00 (“Note # 15”) Note # 15 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 1063 Parkview Drive, Gastonia, North Carolina. Chase
filed proof of claim # 57 in the amount of $52,673.90.

        (p) Upon information and belief on or about November 12, 2004, the Debtors entered into
a Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $65,700.00 (“Note # 16”) Note # 16 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 211 North Pryor Street, Gastonia, North Carolina. Chase
filed proof of claim # 55 in the amount of $71,527.92.

        (q) Upon information and belief on or about June 18, 2003, the Debtors entered into a
Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $45,750.00 (“Note # 17”) Note # 17 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to Chase. The Deed of
Trust is secured by property located at 3623 Robinson Circle, Gastonia, North Carolina. Chase
filed proof of claim # 44 in the amount of $48,654.88

       (2)     Impairment.    This class will be impaired.

       (3)     Treatment.     The Debtors propose the following treatment:

         (a) Note # 1. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $67,500.00. Monthly payments shall be in the amount of
$362.35 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                  Document Page 12 of 37



        (b) Note # 2.     Chase shall be treated as partially secured in an amount equal to the
value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (c) Note # 3.     Chase shall be treated as partially secured in an amount equal to the
value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (d) Note # 4.     Chase shall be treated as partially secured in an amount equal to the
value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $32,000.00. Monthly payments shall be in the
amount of $171.78 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (e) Note # 5.     Chase shall be treated as partially secured in an amount equal to the
value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $32,000.00. Monthly payments shall be in the
amount of $171.78 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (f) Note # 6.          Chase shall be treated as partially secured in an amount equal to
the value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $85,000.00. Monthly payments shall be in the
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 13 of 37



amount of $456.30 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

         (g) Note # 7. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $29,000.00. Monthly payments shall be in the amount of
$155.68 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (h) Note # 8.     Chase shall be treated as partially secured in an amount equal to the
value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (i) Note # 9.     Chase shall be treated as partially secured in an amount equal to the
value of the collateral. Chase shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $28,000.00. Monthly payments shall be in the
amount of $150.31 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (j) Note # 10. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the amount of
$139.57 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

       (k) Note # 11. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 14 of 37



Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the amount of
$139.57 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (l) Note # 12. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $31,000.00. Monthly payments shall be in the amount of
$166.41beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (m) Note # 13. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $31,000.00. Monthly payments shall be in the amount of
$166.41beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (n) Note # 14. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $37,000.00. Monthly payments shall be in the amount of
$198.62 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (o) Note # 15. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $41,000.00. Monthly payments shall be in the amount of
$220.10 beginning on the fifteenth day of the first full month following the Effective Date. The
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 15 of 37



balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

         (p) Note # 16. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $54,000.00. Monthly payments shall be in the amount of
$289.88 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVII as
described below.

        (q) Note # 17. Chase shall be treated as partially secured in an amount equal to the value
of the collateral. Chase shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Chase, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $48,654.88. Monthly payments shall be in the amount of
$261.19 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Chase’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.


M.     Class XIII– Fidelity:

       (1)     Classification. Class XIII shall be modified as follows:

        (a) Upon information and belief on or about August 22, 2006, the Debtors entered into a
Promissory Note and Deed of Trust with Fidelity Bank (“Fidelity”) in the original principal
amount of $198,000.00 (“Note # 1”) Note # 1 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form.. The Deed of Trust is secured
by property located at 4502 Pine Crest Street, North Myrtle Beach, South Carolina. The Debtors
estimate Fidelity’s claim to be $175,903.80.

        (b) Upon information and belief on or about August 1, 2006, the Debtors entered into a
Promissory Note and Deed of Trust with Fidelity in the original principal amount of $200,00.00
(“Note#2”) Note # 2 was secured by a Deed of Trust, taking a security interest in rents and
profits, and all proceeds thereof in any form. The Deed of Trust is secured by property located at
923 North Marietta Street, Gastonia, North Carolina. The Debtors estimate Fidelity’s claim to be
$199,184.91


       (2)     Impairment.     This class will be impaired.

       (3)     Treatment.      The Debtors propose the following treatment
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                  Document Page 16 of 37




     (a) Fidelity shall be treated as fully secured in an amount equal to the value of the collateral.
Fidelity shall retain its lien with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in full. The
Debtors shall make monthly payments to Fidelity, with interest at the rate of six percent (6%) per
annum amortized over a period of fifteen (15) years with a ten (10) year balloon payment . For
feasibility purposes the Debtors estimate this claim to be $181,382.97. Monthly payments shall
be in the amount of $1,539.19 beginning on the fifteenth day of the first full month following the
Effective Date. The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date.


    (b) Fidelity shall be treated as fully secured in an amount equal to the value of the collateral.
Fidelity shall retain its lien with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in full. The
Debtors shall make monthly payments to Fidelity, with interest at the rate of six percent (6%) per
annum amortized over a period of fifteen (15) years with a ten (10) year balloon. For feasibility
purposes the Debtors estimate this claim to be $207,058.12. Monthly payments shall be in the
amount of $1,757.06 beginning on the fifteenth day of the first full month following the
Effective Date. The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date. Additionally, the Debtors must resolve all building code
violations associated with this property. As such the Debtors must comply with following
conditions: (1) By July 1, 2011 the Debtors must provide counsel for Fidelity Bank a detailed
written bid or contract with price for any repairs to the subject building and comply with all
building code violations. The contractor must be licensed, reputable and in the business of
building construction. The bank may review the contract with the building code inspectors to
ensure compliance. (2) By August 1, 2011 contracted work on the building must have begun and
be in earnest progress continuing to completion. (3) By October 1, 2011 Debtors will provide
counsel for Fidelity Bank with a letter from the appropriate building code department that all
repairs of all outstanding code violations have been rectified and that the building is building
code compliant. (4) Debtors’ failure to complete the tasks set out in the 3 paragraphs above by
the dates specified will constitute a default under the underlying Note and Deed of Trust and the
bank will have the right to foreclose.

N.     Class XIV – Fifth Third Bank:

        (1)     Classification. Class XIV consists of the following two secured claims:
        (a) Upon information and belief on or about September 6, 2002, the Debtors entered into
a Promissory Note and Deed of Trust with First Charter Bank in the original principal amount of
$208,000.0.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust were
transferred to Fifth Third Bank. The Deed of Trust is secured by property located at 432 Wilson
Farm Road, Gastonia, North Carolina. Fifth Third Bank filed proof of claim number 5 in the
amount of $182,113.83
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                   Document Page 17 of 37



        (b) Upon information and belief on or about September 10, 2001, the Debtors entered
into a Promissory Note and Deed of Trust with First Charter Bank in the original principal
amount of $40,000.00 (“Note# 2”) Note # 2 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust
were transferred to Fifth Third Bank. The Deed of Trust is secured by property located at 438
Wilson Farm Road, Gastonia, North Carolina. The Debtor estimates Fifth Third Bank’s claim is
$36,491.00.


       (2)     Impairment.     This class will be impaired.

       (3)     Treatment.      The Debtors propose the following treatment:

         (a) Note # 1. Fifth Third Bank’s claim shall be treated unimpaired. Fifth Third Bank
shall retain its lien with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its secured claim is paid in full. The Debtors
shall make payments to Fifth Third Bank, pursuant to the original contract terms. The Debtors
will pay the mortgage arrearages of approximately $28,830.67 through July 2011 over a period
of five (5) years at a rate of five and one quarter (5.25%) percent per annum. Monthly arrearage
payments shall be estimated at the amount of $484.00 beginning on the fifteenth day of the first
full month following the Effective Date. The aforementioned mortgage arrearages payment is
subject to change based upon the updated arrearages figure which will be provided directly to the
Debtors by the Fifth Third Bank.

        (b) Note # 2.           Fifth Third Bank shall be treated as fully secured in an amount
equal to the payoff amount due to Fifth Third Bank. Fifth Third Bank shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make monthly payments
to Fifth Third Bank, with interest at the rate of five and a quarter percent (5.25%) per annum
amortized over a period of thirty (30) years. The Debtors estimate this claim to be $38,500.00.
Monthly payments shall be determined in light of the amount of debt with Fifth Third to provide
a payoff quote and monthly payment amount directly to the Debtors based upon the actual payoff
amount due. These payments will be due on the fifteenth day of the first full month following
the Effective Date.


4.     Additionally, the plan shall treat the secured claims of this creditor in this class as
follows:

        (a) That, except to the extent modified herein or by further orders of the Court, the terms
of the Notes and Deeds of Trust shall remain valid, in full force and be effective, including but
not limited to the terms related to escrow and the terms of default. The only terms modified shall
be the balance of the loan, the interest rate and the length of the term of payment of the modified
loan balance.
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                 Document Page 18 of 37



        (b) It is further ordered that if the Creditor in this Class has advanced of paid taxes or
insurance post-petition then should the Debtors fail to immediately pay to said Creditor funds for
reimbursement of the advance then the parties shall look to the terms of the Notes and Deeds of
Trust for recovery by the Creditor of such an advance for taxes and insurance, including the right
to further escrow the loan.

        (c) That, through the end of the end of the 5th year following confirmation of the
Amended Plan, the Debtors shall not sell any real property of said Class without seeking Court
approval by motion and an order. Upon such sale of the real property then any amount paid to
the Debtors in excess of the amount remaining due for such Notes and Deeds of Trust, as
determined by the modified terms herein, shall be paid and disbursed to the general unsecured
Class in addition to the amounts stated in the confirmed Amended Plan.

        (d) That no Notes or Deeds of Trust are modified herein or by other or further Orders of
the Court where said Notes or Deeds of Trust have been fully foreclosed upon prior to the
petition date of this case and all rights of the Debtors to redeem the real property had been
extinguished under non-bankruptcy law prepetition, regardless of the express language of the
Amended Plan and other or further orders of the Court, including the Order confirming the
Amended Plan.


O.     Class XV – First National Bank:

       (1)     Classification. Class XV shall be modified as follows:

        (a) Upon information and belief on or about December 8, 2002, the Debtors entered into
a Promissory Note and Deed of Trust with First National Bank of Shelby in the original principal
amount of $128,000.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form. The Deed of Trust is secured
by property located at 202 South Roxford Rd, Kings MTN, North Carolina, and 310 Willow St.,
Gastonia, North Carolina. First National Bank of Shelby filed proof of claim # 1 in the amount of
$69,488.98.

       (b) Upon information and belief on or about August 15, 2008, the Debtors entered into a
Consumer Security Agreement with First National Bank in the original principal amount of
$600,000.00 The Consumer Security Agreement was secured by the following Deeds of Trust:
(1)second mortgage on 4502 Pinecrest Street, North Myrtle Beach, North Carolina;(2) a second
mortgage on 432 Wilson Farm Road, Gastonia, North Carolina; (3) first lien on 904 Neal
Hawkins Rd, Gastonia, North Carolina; a second mortgage on 1228 Oliver Hill Rd Banner Elk
North Carolina; and (4) 3417 Gatewood North Carolina. First National Bank of Shelby filed
proof of claim # 4 in the amount of $587,729.02

       (2)     Impairment.    This class will be impaired.

       (3)     Treatment.     The Debtors propose the following treatment:
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                  Document Page 19 of 37



     (a) Note # 1.       First National Bank shall be treated as fully secured for the full amount of
their claim, including all principal, accrued interest and attorneys’ fees. First National Bank shall
retain its lien with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in full. The
Debtors shall make monthly payments to First National Bank, with interest at the rate of five
percent (5%) per annum amortized over a period of twenty-five (25) years with a ten (10) year
balloon. The Debtors estimate this claim to be $74,466.70. Monthly payments shall be in the
amount of $435.00 beginning on the first day of the first full month following the Effective Date.
The outstanding principal balance shall be due and payable one hundred twenty (120) months
from the Effective Date.


    (b) ) Note # 2.      First National Bank shall be treated as fully secured for the full amount of
their claim, including all principal, accrued interest and attorneys’ fees. First National Bank shall
retain its lien with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid in full. The
Debtors shall make monthly payments to First National Bank, with interest at the rate of five
percent (5%) per annum amortized over a period of twenty-five (25) years with a ten (10) year
balloon. Debtors estimate this claim to be $622,096.00. Monthly payments shall be in the amount
of $3,637.00 beginning on the first day of the first full month following the Effective Date. The
outstanding principal balance shall be due and payable one hundred twenty (120) months from
the Effective Date.


Q.     Class XVII – GMAC Mortgage, LLC:

GMAC Mortgage LLC’s Objection to Confirmation is overruled. The Court finds that the
treatment is fair and equitable and the Amended Plan is feasible.

       (1)     Classification. Class XVII shall be modified as follows:

         (a) Note # 1. GMAC shall be treated as partially secured in an amount equal to the
value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $30,000.00. Monthly payments shall be in the
approximate amount of $161.05 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

        (b) Note # 2.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 20 of 37



purposes the Debtors estimate this claim to be $30,500.00. Monthly payments shall be in the
approximate amount of $163.73 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (c) Note # 3.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $53000.00. Monthly payments shall be in the
approximate amount of $284.52 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (d) Note # 4.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $45,000.00. Monthly payments shall be in the
approximate amount of $241.57 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (e) Note # 5.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $30,000.00. Monthly payments shall be in the
approximate amount of $161.00 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (f) Note # 6.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $87,000.00. Monthly payments shall be in the
approximate amount of $467.03 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                   Document Page 21 of 37



         (g) Note # 7. GMAC shall be treated as partially secured in an amount equal to the
value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $75,000.00. Monthly payments shall be in the
approximate amount of $402.62 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (h) Note # 8.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $75,000.00. Monthly payments shall be in the
approximate amount of $402.62 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (i) Note # 9.         GMAC shall be treated as partially secured in an amount equal to
the value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
approximate amount of $225.47 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

         (j) Note # 10. GMAC shall be treated as partially secured in an amount equal to the
value of the collateral. GMAC shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to GMAC, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $59,400.00. Monthly payments shall be in the
approximate amount of $318.87 for principal and interest only beginning on the fifteenth day of
the first full month following the Effective Date. The balance of GMAC’s claim shall be treated
as a general unsecured claim in Class XXVII as described below.

4.     Additionally, the plan shall treat the secured claims of this creditor in this class as
follows:

        (a) That, except to the extent modified herein or by further orders of the Court, the terms
of the Notes and Deeds of Trust shall remain valid, in full force and be effective, including but
not limited to the terms related to escrow and the terms of default. The only terms modified shall
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 22 of 37



be the balance of the loan, the interest rate and the length of the term of payment of the modified
loan balance.

        (b) It is further ordered that if the Creditor in this Class has advanced of paid taxes or
insurance post-petition then should the Debtors fail to immediately pay to said Creditor funds for
reimbursement of the advance then the parties shall look to the terms of the Notes and Deeds of
Trust for recovery by the Creditor of such an advance for taxes and insurance, including the right
to further escrow the loan.

        (c) That, through the end of the end of the 5th year following confirmation of the
Amended Plan, the Debtors shall not sell any real property of said Class without seeking Court
approval by motion and an order. Upon such sale of the real property then any amount paid to
the Debtors in excess of the amount remaining due for such Notes and Deeds of Trust, as
determined by the modified terms herein, shall be paid and disbursed to the general unsecured
Class in addition to the amounts stated in the confirmed Amended Plan.

        (d) That no Notes or Deeds of Trust are modified herein or by other or further Orders of
the Court where said Notes or Deeds of Trust have been fully foreclosed upon prior to the
petition date of this case and all rights of the Debtors to redeem the real property had been
extinguished under non-bankruptcy law prepetition, regardless of the express language of the
Amended Plan and other or further orders of the Court, including the Order confirming the
Amended Plan.

        (e)    That any approximate amount of any monthly payment amount due as set by this
Order confirming plan shall be determined by the Creditor based upon the new loan balance
determined by the value as ordered, the interest rate and the length of the term. The Creditor
shall provide payment change notices to the Debtors based upon the findings herein.


T.     Class XX– Litton:

       (1)     Classification. Class XX shall be modified as follows:

        (a) Upon information and belief on or about November 23, 2003, the Debtors entered
into a Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $62,250.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of
Trust were transferred to JPMorgan Chase. Litton Loan Servicing, LP (“Litton”) is the loan
servicer. The Deed of Trust is secured by property located at 2700 Westview, Gastonia, North
Carolina. Litton filed proof of claim # 74 in the amount of $65,642.60.

        (b) Upon information and belief on or about November 23, 2003, the Debtors entered
into a Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $62,250.00 (“Note#2”) Note # 2 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of
Trust were transferred to JPMorgan Chase. Litton Loan Servicing, LP (“Litton”) is the loan
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                  Document Page 23 of 37



servicer. The Deed of Trust is secured by property located at 2704 Westview, Gastonia, North
Carolina. Litton filed proof of claim # 67 in the amount of $65,319.02.

        (c) Upon information and belief on or about November 23, 2003, the Debtors entered
into a Promissory Note and Deed of Trust with Long Beach Mortgage Corporation in the original
principal amount of $62,250.00 (“Note # 3”) Note # 3 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of
Trust were transferred to JPMorgan Chase. Litton Loan Servicing, LP (“Litton”) is the loan
servicer. The Deed of Trust is secured by property located at 2802 Westview, Gastonia, North
Carolina. Litton filed proof of claim # 73 in the amount of $66,071.82.

       (2)     Impairment.     This class will be impaired.

       (3)     Treatment.      The Debtors propose the following treatment:

         (a) Note # 1. Litton shall be treated as partially secured in an amount equal to the value
of the collateral. Litton shall retain its lien with the priority thereof, as existed on the Petition
Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is
paid in full. The Debtors shall make monthly payments to Litton, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $51,250.00. Monthly payments shall be in the amount of
$275.12 beginning on the fifteenth day of the first full month following the Effective Date. The
balance of Litton’s claim shall be treated as a general unsecured claim in Class XXVI as
described below.

        (b) Note # 2.          Litton shall be treated as partially secured in an amount equal to
the value of the collateral. Litton shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Litton, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $51,250.00. Monthly payments shall be in the
amount of $275.12 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Litton’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.

        (c) Note # 3.          Litton shall be treated as partially secured in an amount equal to
the value of the collateral. Litton shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to Litton, with interest at the rate
of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $51,250.00. Monthly payments shall be in the
amount of $275.12 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of Litton’s claim shall be treated as a general unsecured claim in Class XXVI
as described below.
 Case 10-30942      Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48           Desc Main
                                Document Page 24 of 37



U.     Class XXI – LOANCARE:

       (1)    Classification. Class XXI shall be modified as follows:

       (a) Upon information and belief on or about July 16, 2002, the Debtors
entered into a Promissory Note with Springs Mortgage Corporation in the original principal
amount of $48,300.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Loan Care Servicing Center
(“LoanCare”). The Deed of Trust is secured by property located 1006 Briarwood Drive, Dallas,
North Carolina. LoanCare filed proof of claim 38 in the amount of $47,353.82.

        (b) Upon information and belief on or about May 23, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $61,000.00 (“Note#2”) Note # 2 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Loan Care. The Deed of
Trust is secured by property located at 2653 Goble Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 89 in the amount of $66,727.60

       (c) Upon information and belief on or about May 23, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $61,000.00 (“Note#3”) Note # was secured by a Deed of Trust, taking an assignment
of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of Trust is
secured by property located at 2713 Goble Street, Gastonia, North Carolina. The Debtors
estimate LoanCare’s claim to be $56,308.24

        (d) Upon information and belief on or about May 30, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $56,580.00 (“Note#4”) Note # 4 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2717 Goble Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 80 in the amount of $60,564.60.

        (e) Upon information and belief on or about May 30, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $56,580.00 (“Note# 5”) Note #5 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2721 Goble Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 82 in the amount of $61,290.58.

        (f) Upon information and belief on or about May 30, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $56,580.00 (“Note# 6”) Note # 6 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2725 Goble Street, Gastonia, North Carolina. The Debtors
estimate LoanCare’s claim to be $62,410.65.
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 Case 10-30942      Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48          Desc Main
                                Document Page 25 of 37



        (g) Upon information and belief on or about May 30, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $56,580.00 (“Note# 7”) Note # 7 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2733 Goble Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 83 in the amount of $56,227.51.

       (h) Upon information and belief on or about July 18, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $44,160.00 (“Note#8”) Note # 8 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2138 Hartford Street, Gastonia, North Carolina. The
Debtors estimate LoanCare’s claim to be $39,071.21.

        (i) Upon information and belief on or about July 11, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $47,600.00 (“Note# 9”) Note # 9 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 3019 Salem Drive, Gastonia, North Carolina. The Debtors
estimate that LoanCare’s claim will be $51,762.55.

        (j) Upon information and belief on or about July 12, 2002 the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $46,900.00 (“Note # 10”) Note # 10 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 906 Shannon Bradley Street, Gastonia, North Carolina.
The Debtors estimate that LoanCare’s claim will be $42,849.14.

        (k) Upon information and belief on or about August 14, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $56,000.00 (“Note# 11”) Note # 11 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2724 Westview Street, Gastonia, North Carolina. The
Debtors estimate LoanCare’s claim will be 54,809.49.

        (l) Upon information and belief on or about July 16, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $47,600.00 (“Note# 12”) Note # 12 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2722 Westview Street, Gastonia, North Carolina. The
Debtors estimate LoanCare’s claim will be 47,479.70.

       (m) Upon information and belief on or about July 12, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $46,900.00 (“Note# 14”) Note # 14 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                   Document Page 26 of 37



Trust is secured by property located at 2705 Goble Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 37 in the amount of $47,973.69.

        (n) Upon information and belief on or about July 12, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $46,900.00 (“Note# 14”) Note # 14 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 2709 Goble Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 37 in the amount of $47,973.69.

        (o) Upon information and belief on or about April 12, 2002, the Debtors entered into a
Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original principal
amount of $46,500.00 (“Note# 15”) Note # 15 was secured by a Deed of Trust, taking an
assignment of rents. Said Note and Deed of Trust were transferred to Loan Care. The Deed of
Trust is secured by property located at 112 Miller Street, Gastonia, North Carolina. The Debtors
estimate LoanCare’s claim will be $43,705.60.

        (p)     Upon information and belief on or about April 12, 2002, the Debtors entered into
a Promissory Note and Deed of Trust with Springs Mortgage Corporation in the original
principal amount of $63,750.00 (“Note# 16”) Note # 16 was secured by a Deed of Trust, taking
an assignment of rents. Said Note and Deed of Trust were transferred to LoanCare. The Deed of
Trust is secured by property located at 517 Tareyton Street, Gastonia, North Carolina. LoanCare
filed proof of claim # 77 in the amount of $70,138.89

       (2)     Impairment.     This class will be impaired.

       (3)     Treatment.      The Debtors propose the following treatment:


        (a) Note # 1.           LoanCare shall be treated as partially secured in an amount equal
to the value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on
the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed
secured claim is paid in full. The Debtors shall make monthly payments to LoanCare, with
interest at the rate of five and a quarter percent (5.25%) per annum amortized over a period of
thirty (30) years. For feasibility purposes the Debtors estimate this claim to be $44,500.00.
Monthly payments shall be in the approximate amount of $245.73 for principal and interest only
beginning on the fifteenth day of the first full month following the Effective Date. The balance
of LoanCare’s claim shall be treated as a general unsecured claim in Class XXVI as described
below.

        (b) Note # 2.           LoanCare shall be treated as partially secured in an amount equal
to the value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on
the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed
secured claim is paid in full. The Debtors shall make monthly payments to LoanCare, with
interest at the rate of five and a quarter percent (5.25%) per annum amortized over a period of
thirty (30) years. For feasibility purposes the Debtors estimate this claim to be $42,000.00.
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                   Document Page 27 of 37



Monthly payments shall be in the approximate amount of $231.93 for principal and interest only
beginning on the fifteenth day of the first full month following the Effective Date. The balance
of LoanCare’s claim shall be treated as a general unsecured claim in Class XXVI as described
below.

        (c)Note # 3             LoanCare shall be treated as partially secured in an amount equal
to the value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on
the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed
secured claim is paid in full. The Debtors shall make monthly payments to LoanCare, with
interest at the rate of five and a quarter percent (5.25%) per annum amortized over a period of
thirty (30) years. For feasibility purposes the Debtors estimate this claim to be $42,000.00.
Monthly payments shall be in the approximate amount of $231.93 for principal and interest only
beginning on the fifteenth day of the first full month following the Effective Date. The balance
of LoanCare’s claim shall be treated as a general unsecured claim in Class XXVI as described
below.

        (d) ) Note # 4. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly payments
shall be in the approximate amount of $231.93 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

         (e) Note # 5. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) annum amortized over a period of thirty (30) years. For
feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall be
in the approximate amount of $231.93 for principal and interest only beginning on the fifteenth
day of the first full month following the Effective Date. The balance of LoanCare’s claim shall
be treated as a general unsecured claim in Class XXVI as described below.

        (f) ) Note # 6. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly payments
shall be in the approximate amount of $231.93 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.
 Case 10-30942       Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 28 of 37



         (g) ) Note # 7. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly payments
shall be in the approximate amount of $231.93 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

         (h) ) Note # 8. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $30,000.00. Monthly payments
shall be in the approximate amount of $165.66 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

        (i) ) Note # 9. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $33,000.00. Monthly payments
shall be in the approximate amount of $182.23 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

        (j) ) Note # 10. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $32,500.00. Monthly payments
shall be in the approximate amount of $179.47 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

        (k) Note # 11. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly payments
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48              Desc Main
                                   Document Page 29 of 37



shall be in the approximate amount of $231.93 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

        (l) Note # 12. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $39,000.00. Monthly payments
shall be in the approximate amount of $215.36 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.


         (m) ) Note # 13.       LoanCare shall be treated as partially secured in an amount equal
to the value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on
the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed
secured claim is paid in full. The Debtors shall make monthly payments to LoanCare, with
interest at the rate of five and a quarter percent (5.25%) per annum amortized over a period of
thirty (30) years. For feasibility purposes the Debtors estimate this claim to be $42,000.00.
Monthly payments shall be in the approximate amount of $231.93 for principal and interest only
beginning on the fifteenth day of the first full month following the Effective Date. The balance
of LoanCare’s claim shall be treated as a general unsecured claim in Class XXVI as described
below.

        (n) Note # 14. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly payments
shall be in the approximate amount of $231.93 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.

        (o) Note # 15. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $28,500.00. Monthly payments
shall be in the approximate amount of $157.38 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.
 Case 10-30942        Doc 539      Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                   Document Page 30 of 37



        (p) Note # 16. LoanCare shall be treated as partially secured in an amount equal to the
value of the collateral. LoanCare shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to LoanCare, with interest at the
rate of five and a quarter percent (5.25%) per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $37,000.00. Monthly payments
shall be in the approximate amount of $204.32 for principal and interest only beginning on the
fifteenth day of the first full month following the Effective Date. The balance of LoanCare’s
claim shall be treated as a general unsecured claim in Class XXVI as described below.


4.     Additionally, the plan shall treat the secured claims of this creditor in this class as
follows:

        (a)     That, except to the extent modified herein or by further orders of the Court, the
terms of the Notes and Deeds of Trust shall remain valid, in full force and be effective, including
but not limited to the terms related to escrow and the terms of default. The only terms modified
shall be the balance of the loan, the interest rate and the length of the term of payment of the
modified loan balance.

        (b)     It is further ordered that if the Creditor in this Class has advanced of paid taxes or
insurance post-petition then should the Debtors fail to immediately pay to said Creditor funds for
reimbursement of the advance then the parties shall look to the terms of the Notes and Deeds of
Trust for recovery by the Creditor of such an advance for taxes and insurance, including the right
to further escrow the loan.

        (c)     That, through the end of the end of the 5th year following confirmation of the
Amended Plan, the Debtors shall not sell any real property of said Class without seeking Court
approval by motion and an order. Upon such sale of the real property then any amount paid to
the Debtors in excess of the amount remaining due for such Notes and Deeds of Trust, as
determined by the modified terms herein, shall be paid and disbursed to the general unsecured
Class in addition to the amounts stated in the confirmed Amended Plan.

        (d)     That no Notes or Deeds of Trust are modified herein or by other or further Orders
of the Court where said Notes or Deeds of Trust have been fully foreclosed upon prior to the
petition date of this case and all rights of the Debtors to redeem the real property had been
extinguished under non-bankruptcy law prepetition, regardless of the express language of the
Amended Plan and other or further orders of the Court, including the Order confirming the
Amended Plan.

       (e)   That any approximate amount of any monthly payment amount due as set by this
Order confirming plan shall be determined by the Creditor based upon the new loan balance
determined by the value set, the interest rate and the length of the term. The Creditor shall
provide payment change notices to the Debtors based upon the findings herein.
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48           Desc Main
                                 Document Page 31 of 37



(V)    Class XXII – Nexity Bank n/k/a Alostar Bank of Commerce:

       (1)     Classification. Class XXII shall be modified as follows:

    (a) Upon information and belief on or about May 25, 2001, the Debtors entered into a
Promissory Note with Nexity Bank n/k/a Alostar Bank of Commerce in the original principal
amount of $389,600.00 (“Note #1”). Note # 1 was modified by Modification Agreement-Deed of
Trust dated July 22, 2009, extending the maturity date until July 25, 2014. Note # 1 is secured by
a Deed of Trust, taking a security interest in rents and profits, and all proceeds thereof in any
form. The Deed of Trust is secured by the following properties all of which have appraisal values
of $33,000.00 each: (1) 2000 Gothic Court; (2) 2001 Gothic Court; (3) 2006 Gothic Court; (4)
2007 Gothic Court; (5) 2094 Hartford drive; (6) 2102 Hartford Drive; (7) 2156 Hartford Drive
(8) 2124 Springfield Drive, all located in Gastonia, North Carolina. Nexity Bank n/k/a Alostar
Bank of Commerce filed proof of claim # 8 in the amount of $294,755.65.

    (b) Upon information and belief on or about August 25, 2004, the Debtors entered into a
Promissory Note with Nexity Bank n/k/a Alostar Bank of Commerce in the original principal
amount of $29,627.49 (“Note #2”) Note # 2 was modified by Modification Agreement-Deed of
Trust dated July 22, 2009, extending the maturity date until July 25, 2014. Note # 2 is secured by
a Deed of Trust, taking a security interest in rents and profits, and all proceeds thereof in any
form. The Deed of Trust is secured by the following properties all of which have appraisal values
of $33,000.00 each: (1) 2000 Gothic Court; (2) 2001 Gothic Court; (3) 2006 Gothic Court; (4)
2007 Gothic Court; (5) 2094 Hartford drive; (6) 2102 Hartford Drive; (7) 2156 Hartford Drive
(8) 2124 Springfield Drive, all located in Gastonia, North Carolina. Nexity Bank n/k/a Alostar
Bank of Commerce filed proof of claim # 8 in the amount of $294,755.65.

       (2)     Impairment.    This class will be impaired.

       (3)     Treatment.     The Debtors propose the following treatment:

         (a) Note # 1. Nexity Bank n/k/a Alostar Bank of Commerce shall be treated as fully
secured. Nexity Bank n/k/a Alostar Bank of Commerce shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code,
until its allowed secured claim is paid in full. Attorney’s fees shall be capitalized. The Debtors
shall make monthly payments to Nexity Bank n/k/a Alostar Bank of Commerce, with interest at
the rate of five percent (5%) per annum amortized over a period of thirty (30) years. For
feasibility purposes the Debtors estimate this claim to be $287,100.45. Monthly payments shall
be in the amount of $1,541.21 beginning on the fifteenth day of the first full month following the
Effective Date and Debtors shall continue to make regular monthly payments under the terms of
Note #1 until the Effective Date. Additionally, the Parties will execute loan modification
documents post Plan confirmation to reflect the revised Plan terms and convert the loans to
escrow loans; and the outstanding 2010 taxes for the properties will be paid in full on or before
the Effective Date of the Plan.

       (b) Note # 2. Nexity Bank n/k/a Alostar Bank of Commerce shall be treated as fully
secured. Nexity Bank n/k/a Alostar Bank of Commerce shall retain its lien with the priority
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                 Document Page 32 of 37



thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code,
until its allowed secured claim is paid in full. Attorney’s fees shall be capitalized. The Debtors
shall make monthly payments to Nexity Bank n/k/a Alostar Bank of Commerce, with interest at
the rate of five percent (5%) per annum amortized over a period of thirty (30) years. For
feasibility purposes the Debtors estimate this claim to be $7,655.20. Monthly payments shall be
in the amount of $41.09 beginning on the fifteenth day of the first full month following the
Effective Date and Debtors shall continue to make regular monthly payments under the terms of
Note #2 until the Effective Date. Additionally, the Parties will execute loan modification
documents post Plan confirmation to reflect the revised Plan terms and convert the loans to
escrow loans; and the outstanding 2010 taxes for the properties will be paid in full on or before
the Effective Date of the Plan.


X.     Class XXIV – U.S. Bank:

       (1)     Classification. Class XXIV shall be modified as follows:

    (a) Upon information and belief on or about September 7, 2005, the Debtors entered into a
Promissory Note with Credit Suisse First Boston Financial Corporation in the original principal
amount of $56,000.00 (“Note#1”) Note # 1 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust
were transferred to U.S. Bank National (“U.S. Bank”). The Deed of Trust is secured by property
located at 805 North Avon Street, Gastonia, North Carolina. U.S. Bank filed proof of claim # 25
in the amount of $57,702.94.

 (b) Upon information and belief on or about July 28, 2006, the Debtors entered into a
Promissory Note and Deed of Trust with Credit Suisse Financial Corporation in the original
principal amount of $,67,000.00 (“Note#2”) Note # 2 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of
Trust were transferred to U.S. Bank National (“U.S. Bank”).The Deed of Trust is secured by
property located at 2525 Myers Street, Gastonia, North Carolina. U.S. Bank filed proof of claim
# 20 in the amount of $71,392.39.

(c) Upon information and belief on or about July 28, 2006, the Debtors entered into a
Promissory Note Credit Suisse Financial Corporation in the original principal amount of
$71,700.00 (“Note#3”) Note # 3 was secured by a Deed of Trust, taking a security interest in,
rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust were
transferred to U.S. Bank National (“U.S. Bank”).The Deed of Trust is secured by property
located at 2727Westview Street, Gastonia, North Carolina. U.S. Bank filed proof of claim # 24 in
the amount of $76,989.07

(d) Upon information and belief on or about July 28, 2006, the Debtors entered into a
Promissory Note Credit Suisse Financial Corporation in the original principal amount of
$66,500.00. (“Note # 4”) Note # 4 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust were
transferred to U.S. Bank National (“U.S. Bank”).The Deed of Trust is secured by property
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                  Document Page 33 of 37



located at 726 Davidson Street, Gastonia, North Carolina. U.S. Bank filed proof of claim # 27 in
the amount of $71,185.65.

(e)    Upon information and belief on or about July 28, 2006, the Debtors entered into a
Promissory Note and Deed of Trust with Credit Suisse Financial Corporation, in the original
principal amount of $67,400.00 (“Note # 5) Note # 5 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of
Trust were transferred to U.S. Bank National (“U.S. Bank”). The Deed of trust is secured by
property located at 2519 Gardner Street, Gastonia, North Carolina. U.S. Bank filed proof of
claim # 21 in the amount of $76,752.77

(f)     Upon information and belief on or about September 7, 2005 the Debtors entered into a
Promissory Note with Amtrust Mortgage Corporation in the original principal amount of
$52,000.00 (“Note #6”) Note # 6 was secured by a Deed of Trust, taking an taking a security
interest in rents and profits, and all proceeds thereof in any form. Said Note and Deed of Trust
were transferred to U.S. Bank National (“U.S. Bank”). The Deed of Trust is secured by property
located at 3054 Crawford Street, Gastonia, North Carolina. U.S. Bank filed proof of claim # 23
in the amount of $53,072.24

       (2)     Impairment.     This class will be impaired.

       (3)     Treatment.      The Debtors propose the following treatment:

         (a) Note # 1. U.S. Bank shall be treated as partially secured in an amount equal to the
value of the collateral. U.S. Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to U.S. Bank, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $53,000.00. Monthly payments shall be in the
amount of $284.52 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of U.S. Bank’s claim shall be treated as a general unsecured claim in Class
XXVI as described below.

        (b) Note # 2. U.S. Bank shall be treated as partially secured in an amount equal to the
value of the collateral. U.S. Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to U.S. Bank, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
amount of $225.47 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of U.S. Bank’s claim shall be treated as a general unsecured claim in Class
XXVI as described below.

        (c) Note # 3. U.S. Bank shall be treated as partially secured in an amount equal to the
value of the collateral. U.S. Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                  Document Page 34 of 37



claim is paid in full. The Debtors shall make monthly payments to U.S. Bank with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $46,000.00. Monthly payments shall be in the
amount of $246.94 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of U.S. Bank’s claim shall be treated as a general unsecured claim in Class
XXVI as described below.

        (d) Note #4. U.S. Bank shall be treated as partially secured in an amount equal to the
value of the collateral. U.S. Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to U.S. Bank, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $63,000.00. Monthly payments shall be in the
amount of $338.20 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of U.S. Bank’s claim shall be treated as a general unsecured claim in Class
XXVI as described below.

        (e) Note # 5. U.S. Bank shall be treated as partially secured in an amount equal to the
value of the collateral. U.S. Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtors shall make monthly payments to U.S. Bank, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $48,000.00. Monthly payments shall be in the
amount of $257.67 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of U.S. Bank’s claim shall be treated as a general unsecured claim in Class
XXVI as described below.

        (f) Note # 6. U.S. Bank shall be treated as partially secured in an amount equal to the
value of the collateral. U.S. Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured
claim is paid in full. The Debtor shall make monthly payments to U.S. Bank, with interest at the
rate of five percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtor estimates this claim to be $39,500.00. Monthly payments shall be in the
amount of $212.04 beginning on the fifteenth day of the first full month following the Effective
Date. The balance of U.S. Bank’s claim shall be treated as a general unsecured claim in Class
XXVI as described below.


Y.      Class XXV – Wells Fargo Bank:

     1. Classifications:       Class XXV shall be modified as follows:

    (a) Upon information and belief on or about December 22, 2004, the Debtors entered into a
Deed of Trust and Security Instrument with Amtrust Mortgage Corporation in the original
principal amount of $48,000.00. (“Note#1”) Note # 1 was transferred to Wells Fargo Bank. Note
# 1 was secured by a Deed of Trust, taking a security interest in rents and profits, or proceeds
 Case 10-30942       Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48           Desc Main
                                 Document Page 35 of 37



paid thereof. The Deed of Trust is secured by property located at 719 Davie Street, Gastonia,
North Carolina. Wells Fargo Bank filed proof of claim # 16 in the amount of $54,092.70.

    (b) Upon information and belief on or about December 22, 2004, the Debtors entered into a
Deed of Trust and Security Instrument with Amtrust Mortgage Corporation in the original
principal amount of $71,200.00. (“Note#2”) Note # 2 was transferred to Wells Fargo Bank. Note
# 2 was secured by a Deed of Trust, taking a security interest in among other things, rents, and
profits, and all proceeds thereof in any form. The Deed of Trust is secured by property located at
531 Sherman Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 18 in the
amount of $78,418.75.

    (c) Upon information and belief on or about December 22, 2004, the Debtors entered into a
Deed of Trust and Security Instrument with Amtrust Mortgage Corporation in the original
principal amount of $54,400.00 (“Note#3”) Note # 3 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form. Said Note was
transferred to Wells Fargo. The Deed of Trust is secured by property located at 2611 Goble
Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 17 in the amount of
$61,245.75.

    (d) Upon information and belief on or about August 26, 2004, the Debtors entered into a
Deed of Trust and Security Instrument with Wells Fargo Bank, N.A., in the original principal
amount of $54,400.00 (“Note # 4”) Note # 4 was secured by a Deed of Trust, taking a security
interest in rents and profits, and all proceeds thereof in any form. The Deed of Trust is secured
by property located at 2131 Hartford Drive, Gastonia, North Carolina. Wells Fargo filed proof of
claim # 59 in the amount of $48,008.90.

    (e) Upon information and belief on or about July 13, 2006, the Debtors entered into a Deed
of Trust and Security Instrument with Wells Fargo Bank, N.A., in the original principal amount
of $68,400.00 (“Note # 5”) Note # 5 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form. The Deed of Trust is secured by property
located at 2523 Myers Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 39 in
the amount of $78,206.89.


       (2)     Impairment.    This class will be impaired.

       (3)     Treatment.

         (a) Note # 1.         Wells Fargo’s claim shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code,
until its allowed secured claim is paid in full. The Debtors shall pay monthly payments to Wells
Fargo, with interest at the rate of five percent (5.25%) per annum amortized over a period of
thirty (30) years. For feasibility purposes the Debtors estimate this claim to be $38,500.00.
Monthly payments shall be in the amount of $212.60 beginning on the fifteenth day of the first
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48             Desc Main
                                  Document Page 36 of 37



full month following the Effective Date. The balance of Wells Fargo’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

         (b) Note # 2.          Wells Fargo’s claim shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code,
until its allowed secured claim is paid in full. The Debtors shall pay monthly payments to Wells
Fargo, with interest at the rate of five and one quarter percent (5.25%) per annum amortized over
a period of thirty (30) years. For feasibility purposes the Debtors estimate this claim to be
$53,400.00. Monthly payments shall be in the amount of $294.88 beginning on the fifteenth day
of the first full month following the Effective Date. The balance of Wells Fargo’s claim shall be
treated as a general unsecured claim in Class XXVI as described below.

        (c) Note # 3.          Wells Fargo shall be treated as partially secured in an amount
equal to the value of the collateral. Wells Fargo shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to Wells Fargo,
with interest at the rate of five and one quarter percent (5.25%) per annum amortized over a
period of thirty (30) years. For feasibility purposes the Debtors estimate this claim to be
$37,000.00. Monthly payments shall be in the amount of $204.32 beginning on the fifteenth day
of the first full month following the Effective Date. The balance of Wells Fargo’s claim shall be
treated as a general unsecured claim in Class XXVI as described below.

       (d) Note # 4.           Wells Fargo shall be treated as partially secured in an amount
equal to the value of the collateral. Wells Fargo shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to Wells Fargo,
with interest at the rate of five percent (5%)per annum amortized over a period of thirty (30)
years. For feasibility purposes the Debtors estimate this claim to be $34,500.00. Monthly
payments shall be in the amount of $185.20 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

        (e) Note 5.             Wells Fargo shall be treated as partially secured in an amount
equal to the value of the collateral. Wells Fargo shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to Wells Fargo,
with interest at the five percent (5%) per annum amortized over a period of thirty (30) years. For
feasibility purposes the Debtors estimate this claim to be $51,350.00. Monthly payments shall be
in the amount of $275.66 beginning on the fifteenth day of the first full month following the
Effective Date. The balance of Wells Fargo’s claim shall be treated as a general unsecured claim
in Class XXVI as described below.
 Case 10-30942        Doc 539     Filed 09/23/11 Entered 09/23/11 10:40:48            Desc Main
                                  Document Page 37 of 37



         The Debtors may investigate and pursue avoidance actions pursuant to the Bankruptcy
Code. Any funds collected through such actions will be distributed in accordance with the
priorities established by the Bankruptcy Code and Orders of this Court.

       3.      To the extent any language in the Amended Plan is inconsistent with the
provisions of this Order, the provisions of this Order shall govern.

       4.      Except as provided in this Order, the Amended Plan, or in Section 1141(d) of the
Bankruptcy Code, the Debtors are hereby released from all dischargeable debts, provided that the
Confirmation is expressly conditioned upon the Debtors providing for the payment of all allowed
claims assertable against the Debtors’ estate as specified in the Amended Plan and in this Order.

       5.      All objections to claims, including requests for costs and expenses under section
506(b), fee applications, and adversary proceedings will be filed with the Court within sixty (60)
days of the Effective Date, which shall be ten (10) days from the date of the entry of this Order.

        6.      The Debtors shall file Post-Confirmation Reports with the Clerk of Court
pursuant to Section 1106(a)(7) with a copy served upon the Bankruptcy Administrator. The first
report shall be due on the earliest of December 31, March 31, June 30, or September 30 in the
calendar year in which this Plan is confirmed. The Debtor shall file subsequent reports at the end
of every succeeding quarter (December 31, March 31, June 30, or September 30), until the
Amended Plan is substantially consummated. Quarterly Reports shall reflect any progress made
in consummating the Amended Plan during the period covered by the report. Post-Confirmation
Reports shall be filed in the format prescribed by the Bankruptcy Administrator. Debtors will
continue paying the quarterly fee to the United States Bankruptcy Court until the Motion for
Final Decree is filed.

        7.      Within thirty (30) days of substantial consummation of the Amended Plan, as
defined by Section 1101(2), the Debtors shall file a final report in a format prescribed by the
Bankruptcy Administrator reflecting the payments made for all costs of administration. each
class of creditors and a motion for the entry of a Final Decree pursuant to Rule No. 3022,
F.R.B.P.

       8.     The Debtors shall pay to the Clerk, of the United States Bankruptcy Court, the
sum of $0.00 for court costs.

        9.      The Debtors shall serve a copy of this Order on all creditors within five (5) days
of the entry of this Order and promptly file a Certificate of Service with the Clerk.


This Order has been signed
electronically. The judge's
signature and court's seal appear at the top of the Order.   United States Bankruptcy Court
